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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


POPTECH, LP, individually and on behalf of
                                       :
a class of others similarly situated, and derivatively
                                       :
on behalf of STEWARDSHIP CREDIT        :
ARBITRAGE FUND, LLC,                   :
                                       :
                        Plaintiff,     :                  No. 3:10cv967 (MRK)
                                       :
v.                                     :
                                       :
STEWARDSHIP INVESTMENT ADVISORS,       :
LLC; STEWARDSHIP CREDIT ARBITRAGE      :
FUND, LLC; ACORN CAPITAL GROUP, LLC; :
A LE VIELLE RUSSIE, INC.; MARLON QUAN; :
GUSTAV E. ESCHER, III; BENJAMIN        :
ZUCKER; PETER SCHAFFER,                :
                                       :
                        Defendants.    :


                                     RULING AND ORDER


       Currently pending before the Court is Plaintiff Poptech, LP's ("Poptech's") Motion for

Appointment as Lead Plaintiff and to Approve Its Selection of Lead Counsel [doc. #18]. In the

motion, Poptech seeks to be appointed as co-Lead Plaintiff along with William A. Meyer and Dr.

Terrence Isakov, and seeks to have Shepherd, Finkelman, Miller & Shaw, LLP approved as Lead

Counsel. No other potential Lead Plaintiff has opposed Poptech's motion. However, Defendants

Stewardship Investment Advisors, LLC ("Stewardship Advisors") and Marlon Quan filed a

Memorandum in Opposition [doc. # 31] to the pending motion challenging the sufficiency of the

notice that Poptech published advising members of the proposed class about the pendency of this

action. See 15 U.S.C. § 78u-4(a)(3)(A).
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       For the reasons set forth below, Poptech's Motion for Appointment as Lead Plaintiff and to

Approve Its Selection of Lead Counsel [doc. #18] is GRANTED in part and DENIED in part. The

Court appoints Poptech as Lead Plaintiff and approves Poptech's selection of Shepherd, Finkelman,

Miller & Shaw, LLP as Lead Counsel. However, the Court reserves judgment as to whether William

A. Meyer and Dr. Terrence Isakov should also be appointed as co-Lead Plaintiffs. Mr. Meyer and

Dr. Isakof may file renewed motions for appointment as co-Lead Plaintiffs after the amended

complaint in this case has been filed. See Order [doc. # 41].

                                                  I.

       Under the Private Securities Litigation Reform Act of 1995 ("PSLRA"), Pub. L. 104-67, 109

Stat. 737 (codified as amended in scattered sections of 15 U.S.C.), within twenty days after the filing

of a federal securities class action complaint, the plaintiff must publish a notice about the action in

"a widely circulated national business-oriented publication or wire service." 15 U.S.C. § 78u-

4(a)(3)(A)(i). The notice must advise members of the proposed class "of the pendency of the action,

the claims asserted therein, and the purported class period." Id. § 78u-4(a)(3)(A)(i)(I). The notice

must also inform members of the proposed class that "any member . . . may move the court to serve

as lead plaintiff" within sixty days after publication of the notice. Id. § 78u-4(a)(3)(A)(i)(II).

       Poptech filed its Complaint [doc. # 1] in this action on June 18, 2010. Six days later, on June

24, 2010, Poptech published a notice in Business Wire. The Court reproduces the relevant portions

of the notice below:

       Shepherd, Finkelman, Miller & Shah, LLP . . . announces that it has filed a lawsuit
       seeking class action status in the United States District Court for the District of
       Connecticut (docket no. 3:10-cv-00967 (MRK)) on behalf of all persons or entities
       (the "Class") that purchased or otherwise aquired Class P or Class A interests in the
       Stewardship Credit Arbitrage Fund, LLC ("Stewardship" or the "Fund") between
       period February 7, 2006 and October 7, 2008 (the "Class Period"). A copy of the

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       Complaint may be obtained from the Court, or you can call our offices toll free. . .
       to speak with an attorney regarding this matter and we will send you a copy of the
       Complaint.

       Among other claims, the Complaint alleges that Stewardship Investment Advisors,
       LLC ("Stewardship Advisors") and Marlon Quan ("Quan") violated Sections 10(b)
       and 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5 promulgated
       thereunder, by misrepresenting that the Fund would follow certain investment
       objectives, strategies and methods, when, in fact, contrary to those representations,
       the Fund invested the bulk of its assets in a "Ponzi" scheme operated by Thomas
       Petters, now serving a federal prison term for fraud; as well as loans secured by
       vastly overvalued jewelry and other dubious investments. The Complaint further
       alleges that Stewardship Advisors and Quan knew or should have known that assets
       underlying these and other of the Fund's investments were unsupportable.

       If you purchased or otherwise acquired Class P or Class A interests in Stewardship
       between February 7, 2006 and October 7, 2008, you may qualify to serve as lead
       plaintiff on behalf of the Class. All motions for appointment as lead plaintiff must
       be filed with the Court no later than sixty days from today. Any member of the
       proposed Class may move the Court to serve as lead plaintiff in this action through
       counsel of his or her choice, or may remain an absent class member. There are
       certain legal requirements to serve as lead plaintiff, which we would be pleased to
       discuss with you. Please contact Patrick A. Klingman by email or telephone . . . if
       you would like to discuss this action or have any questions regarding this notice or
       your rights.

Ex. A to Pl.'s Mot. for Appointment as Lead Pl. and to Approve its Selection of Counsel [doc. # 18-

3]. At oral argument on the pending motion, Poptech's counsel represented that Shepherd,

Finkelman, Miller & Shah received numerous telephone calls and emails in response to the notice.

       There is no dispute – and no real doubt – that Poptech's notice met the requirement of being

published in a widely circulated national business-oriented wire service. Numerous federal district

courts have held that publication in Business Wire satisfies that requirement, see, e.g., Seidel v. Noah

Educ. Holdings, Ltd., No. 08 Civ. 9427 (RJS), 2009 WL 700782, at *4 (S.D.N.Y. Mar. 9, 2009), and

this Court agrees. Defendants do not contend otherwise. There is also neither a dispute nor a doubt

that the notice satisfactorily informed members of the proposed class about the pendency of the


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action and about the purported class period.

       Nevertheless, Stewardship Advisors and Mr. Quan argue in opposition to the pending motion

that Poptech's notice did not satisfy the PSLRA's other requirements. See In re Lucent Tech., Inc.

Sec. Lit., 194 F.R.D. 137, 146-48 (D.N.J. 2000). Although the PSLRA does not explicitly

contemplate that a defendant may challenge the sufficiency of a plaintiff's notice to potential class

members, numerous federal district courts have permitted such challenges. See, e.g., id. at 148;

Wenderhold v. Cylink Corp., 188 F.R.D. 577, 579 (N.D. Cal. 1999). Regardless, Poptech does not

dispute that Stewardship Advisors and Mr. Quan have standing to challenge the notice. Stewardship

Advisors and Mr. Quan assert that Poptech's notice did not fully and adequately advise members of

the proposed class of all the claims asserted in the Complaint, did not provide a sufficiently detailed

account of Defendants' alleged misrepresentations, and did not adequately facilitate further inquiry

and action by potential class members. The Court does not find Defendants' arguments to be

convincing.

       The PSLRA requires that a notice inform members of the proposed class of "the claims

asserted" in the action. 15 U.S.C. § 78u-4(a)(3)(A)(i)(I). The notice most certainly mentioned that

plaintiff asserted claims under § 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5

thereunder, and a claim against Mr. Quan under § 20(a) of the Securities Exchange Act of 1934.

However, Stewardship Advisors and Mr. Quan insist that Poptech's notice was insufficient because

it did not mention the following state law claims: (1) a claim against Stewardship Advisors and Mr.

Quan under the Connecticut Uniform Securities Act, see Conn. Gen. Stat. § 36b-29; (2) a claim

against various other Defendants under the Connecticut Uniform Securities Act, see id.; (3) a state

common law fraud claim against Stewardship Investment and Mr. Quan; (4) a state common law


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negligent misrepresentation claim against Stewardship Advisors and Mr. Quan; (5) a derivative state

common law fraud claim against Stewardship Advisors, Mr. Quan and various other Defendants;

(6) a derivative state common law breach of fiduciary duty claim against Stewardship Advisors, Mr.

Quan, and one other Defendant; (7) a derivative state common law negligence claim against

Stewardship Advisors, Mr. Quan, and various other Defendants; (8) a derivative state common law

unjust enrichment claim against Stewardship Advisors, Mr. Quan, and various other Defendants;

and (9) a derivative state common law breach of contract claim against Stewardship Advisors, Mr.

Quan, and various other Defendants. According to Stewardship Advisors and Mr. Quan, a notice

must detail all of the claims in the complaint in order to comply with the PSLRA. See In re Lucent,

194 F.R.D. at 146-47; see also Wenderhold, 188 F.R.D. at 579 (holding that the "description of the

claims in the notice must be congruent with the claims as alleged in the pleadings").

        Neither the Supreme Court nor the Second Circuit has ever considered whether the PSLRA

requires a plaintiff's notice to provide a detailed account of all of the claims in the complaint,

including state law claims. Considering that question as a matter of first impression, this Court

concludes that the PSLRA does require a notice to list all federal securities law claims, but does not

require notice of every state law claim. The PSLRA does not specifically distinguish between

federal securities law claims and other claims such as state law claims. However, because the

PSLRA applies only to class actions that arise under federal securities law, see id. 15 U.S.C. § 78u-

4(a)(1), the Court believes that the primary purpose of a PSLRA notice is to inform potential class

members about the federal securities law claims in the complaint.

        The plain text of the PSLRA does not explicitly require a plaintiff to list every claim asserted

in a private securities class action. Instead, it requires only that a plaintiff publish a "notice" of "the


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claims asserted" in a pending securities class action. 15 U.S.C. § 78u-4(a)(3)(A)(i)(I). Absent

indications to the contrary, this Court must presume that Congress uses language in statutes –

including the PSLRA – consistent with ordinary usage. See, e.g., Boyle v. United States, --- U.S.

---, 129 S. Ct. 2239, 2244 (2009). In ordinary usage, "notice" means nothing more than "an

announcement or intimation of something impending; warning." Random House Webster's

Unabridged Dictionary 1326 (2d ed. 2001). And as a general legal matter, whether a particular

announcement sufficiently informs interested persons of impending action is generally a contextual

inquiry. See Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950) (holding that

to comport with due process, "notice [must be] reasonably calculated, under all the circumstances,

to apprise interested parties of the pendency of the action and afford them an opportunity to present

their objections"); Black's Law Dictionary 1164 (9th ed. 2009) (defining "due notice" as notice that

is "adequate given the particular circumstances").

       Although Stewardship Advisors and Mr. Quan suggest otherwise, federal district courts have

interpreted the PSLRA to require nothing more than a reasonably detailed notice about the federal

claims asserted in a securities class action complaint. As one other district court has wisely noted:

       Drafting notices for class members is a bit of an art. The balance is to give members
       adequate information for them to make informed decisions without overwhelming
       them with so much information that they do not see the most important information
       or do not even read the notice because of its length.

Lane v. Page, 250 F.R.D. 634, 645 (D.N.M. 2007) (emphasis added). The decisions that

Stewardship Advisors and Mr. Quan rely on are not to the contrary. See Wenderhold, 188 F.R.D.

at 583 (interpreting the PSLRA to require "a fair recital of the subject matter of the suit . . .

inform[ing] all class members of their opportunity to be heard" (emphasis added and citation

omitted)); In re Lucent, 194 F.R.D. at 146 (same). In this Court's experience, federal securities class

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action complaints are often complex, and they often assert claims under state statutes and state

common law – not just federal securities claims – against multiple defendants. If Congress had

intended the PSLRA to require an exhaustive notice describing every state law claim and every

alternative legal theory outlined in a complaint, it could have used specific language to do so. It

could even have required the plaintiff to publish or otherwise circulate a complete copy of the

complaint. Thus, consistent with other federal district courts' decisions, this Court reads the PSLRA

to require a notice that includes a reasonably detailed summary of the claims asserted in a securities

class action complaint; the notice need not "overwhelm[]" readers with every detail of every claim

asserted in the complaint. See Lane, 250 F.R.D. at 645.

        The Court believes that Poptech's notice provided members of the proposed class with a

reasonably detailed summary of all of the claims asserted in the Complaint. Stewardship Advisors

and Mr. Quan overlook the fact that, in addition to informing members of the proposed class about

Poptech's claims under §§ 10(b) and 20(a) and under Rule 10b-5, it also noted that there were "other

claims" in the Complaint. Furthermore, the notice set forth in some detail the factual allegations

common to all of the claims in the complaint – that is, that Stewardship Advisors invested money

in a Ponzi scheme and in loans secured by jewelry and antiques, rather than in more conservative

investments as described to investors. Finally, even assuming that it is sometimes necessary to

inform members of the proposed class about potential interclass conflicts in order to satisfy the

PSLRA, see In re Lucent, 194 F.R.D. at 148, no such notification could be required here. At this

point, there is no indication that such interclass conflicts will exist in this case.

        The Court is also fully satisfied that Poptech's notice sufficiently enabled members of the

proposed class to contact this Court directly and file motions for appointment as Lead Plaintiff. See


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15 U.S.C. § 78u-4(a)(3)(A)(i)(I). The notice did not identify the plaintiff by name, but it included

this case's docket number, No. 3:10cv967 (MRK). Though the notice did not include a telephone

number or address for the Court, any person could find that information with ease on the Internet

or by calling Information. Such person could then obtain detailed information about the case from

the Clerk's office or from the Court's chambers by simply referencing this case's docket number.

The notice also informed those reading it that they could obtain information about the case by

contacting Shepherd, Finkelman, Miller & Shaw, and several persons did just that. Finally, the

notice specifically informed members of the proposed class about the process for filing motions for

appointment as Lead Plaintiff with this Court, and about deadline for filing such motions with the

Court. Thus, the Court concludes that Poptech's notice fully satisfied the PSLRA's requirements.

                                                    II.

        Stewardship Advisors and Mr. Quan do not object to the appointment of Poptech as Lead

Plaintiff, and other than Mr. Meyer and Dr. Isakof – who seek to join with Poptech in a Lead

Plaintiff Group – no other member of the proposed class has moved for appointment as Lead

Plaintiff. Under the PSLRA, this Court must "appoint as lead plaintiff the member or members of

the purported plaintiff class that [it] determines to be most capable of adequately representing the

interests of class members." 15 U.S.C. § 78u-4(a)(3)(B)(i). The Court must "adopt a presumption

that the most adequate plaintiff . . . is the person or group of persons that . . . has either filed the

complaint or made a motion in response to a notice . . . ; in the determination of the court, has the

largest financial interest in the relief sought by the class; and . . . otherwise satisfies the requirements

of Rule 23 of the Federal Rules of Civil Procedure." 15 U.S.C. § 78u-4(a)(3)(B)(iii). Under Rule

23, "the claims or defenses of the representative parties [must be] typical of the claims or defenses


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of the class," Fed. R. Civ. P. 23(a)(3)," and "the representative parties [must] fairly and adequately

protect the interests of the class." Fed. R. Civ. P. 23(a)(4).

       The Court has no difficulty concluding that Poptech is well-suited to serve as Lead Plaintiff.

Poptech filed the Complaint in this action, see 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(aa); Poptech

purchased $1,500,000 in Class A shares of the security at issue in this case, see id. § 78u-

4(a)(3)(B)(iii)(I)(bb); and Poptech seems to assert claims typical of the class and to be capable of

fully and adequately protecting the interests of the proposed class.               See id. § 78u-

4(a)(3)(B)(iii)(I)(cc); Fed. R. Civ. P. 23(a)(2)-(3). Because no other class member has opposed

Poptech's motion, see 15 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II) ("The presumption described in

subclause (I) may be rebutted only upon proof by a member of the purported plaintiff class . . . ."),

the Court appoints Poptech as Lead Plaintiff.

       The Court believes that it is prudent, however, to refrain from deciding at this time whether

Mr. Meyer and Dr. Isakof should be appointed as members of a Lead Plaintiff Group along with

Poptech. As discussed during the on-the-record telephonic status conference held on October 22,

2010, Stewardship Advisors and Mr. Quan filed a Motion to Dismiss [doc. # 38] the Complaint on

October 10, 2010. Defendant Acorn Capital Group, LLC also filed a Motion to Dismiss [doc. # 39]

on that date. In response to those motions, Poptech sought leave to amend the Complaint. The

Court granted Poptech leave to do so and denied both motions without prejudice to renewal. See

Order [doc. # 41]. During the status conference, the Court instructed Poptech that it could add Mr.

Meyer and Dr. Isakof as parties in its amended complaint and could provide the Court with

additional information about Mr. Meyer and Dr. Isakof's interests in this action in the amended

complaint. After the amended complaint has been filed, Mr. Meyer and Dr. Isakof may file motions


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to be added as Lead Plaintiffs along with Poptech. Should they eventually file such motions, the

Court will determine at that time whether Mr. Meyer and Dr. Isakof meet the requirements for

serving as Lead Plaintiffs.

                                                III.

       As Lead Plaintiff, Poptech has the discretion to retain counsel of its choice to represent the

class, subject to the Court's approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v). Poptech has selected

Shepherd, Finkelman, Miller & Shaw as its counsel and seeks the Court's approval of its selection.

It appears that Shepherd, Finkelman, Miller & Shaw and its attorneys are sufficiently experienced

in handling federal securities class actions to serve as Lead Counsel, and Defendants do not argue

otherwise. Therefore, the Court approves of Poptech's selection of Lead Counsel.

                                                IV.

       In sum, the Court appoints Poptech as Lead Plaintiff and approves Poptech's selection of

Shepherd, Finkelman, Miller & Shaw as Lead Counsel. However, for the time being, the Court

declines to appoint Mr. Meyer and Dr. Isakof as members of a Lead Plaintiff Group. Poptech's

Motion for Appointment as Lead Plaintiff and to Approve Its Selection of Lead Counsel [doc. #18]

is therefore GRANTED in part and DENIED in part. Mr. Meyer and Dr. Isakof may filed renewed

motions for appointment as Lead Plaintiff after an amended complaint has been filed in this case.

The Court expresses no view here regarding the reasonableness of any proposed fee arrangements

between Poptech and Shepherd, Finkelman, Miller & Shaw.




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                                                  IT IS SO ORDERED.



                                       /s/             Mark R. Kravitz
                                                  United States District Judge



Dated in New Haven, Connecticut: October 28, 2010.




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